Case 5:24-cv-00181-BJB-LLK   Document 34   Filed 04/14/25   Page 1 of 5 PageID #:
                                    396
Case 5:24-cv-00181-BJB-LLK   Document 34   Filed 04/14/25   Page 2 of 5 PageID #:
                                    397
Case 5:24-cv-00181-BJB-LLK   Document 34   Filed 04/14/25   Page 3 of 5 PageID #:
                                    398
Case 5:24-cv-00181-BJB-LLK   Document 34   Filed 04/14/25   Page 4 of 5 PageID #:
                                    399
Case 5:24-cv-00181-BJB-LLK   Document 34   Filed 04/14/25   Page 5 of 5 PageID #:
                                    400
